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     32.1

     (1)Thecourtmaycontroltheevidencebygivingdi
                                              rectil
                                                   nnsasto-

     (a)theissuesonwhichi
                        trequiresevidence'
                                         ,
     (b)thenatureoftheevi
                        dencewhichitrequirestodeci
                                                 dethoseissues'
                                                              ,and

     (c)thewayinwhi
                  chtheevi
                         denceistobeplacedbeforethecourt.
      (2)Thecourtmayusei
                       tspowerunderthisruletoexcl
                                                tldeevi
                                                      dencethatwouldotherwi
                                                                          sebeadmissibl
                                                                                      e.

      (3)Thecoudmaylimitcross-examinationtoL)

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      Evidence ofwitnesses- generalrule
      32.2
      (1)Thegeneralrul
                     eisthatanyfactwhi
                                     chneedstobeprovedbytheevidenceofwitnessesistobeproveè-

      (a)attri
             al,bytheiroralevidencegiveninpubli
                                              c'
                                               ,and

      (b)atanyotherhearing,bytheirevidenceinwriti
                                                ng.

      (2)Thi
           sissubject-
      (a)toanyprovisiontothecontrarycontainedintheseRulesorelsewhere;or

      (b)toanyorderofthecourt.
      (3)Thecourtmaygivedi
                         rections-
      (a)identi
              fyingorlimi
                        tingthei
                               ssuestowhichfactualevidencemaybedirected'
                                                                       ,
      (b)i
         dentifyingthewi
                       tnesseswhomaybecall
                                         edorwhoseevidencemayberead;or

      (c)Iimi
            tingtheIengthorformatofwi
                                    tnessstatements.

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       Evidencebyvideo link orotherm eans
       32.3 Thecourtmayall
                         ow a witnessto give evidencethrougha video link orbyothermeans.

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       Requirem entto servewitnessstatem entsforuseattrial
       32.4
       (1)A wi
             tnessstatementisawri
                                ttenstatementsi
                                              gnedbyapersonwhichcontainstheevi
                                                                             dencewhichthatpersonwouldbe
       all
         owed to gi
                  ve oral
                        ly.
       (2)Thecourtwilorderapartytoserveontheotherpartiesanywi
                                                            tnessstatementoftheoralevidencewhichtheparty
       serving the statementintendsto relyon in rel
                                                  ationtoany i
                                                             ssues offactto bedeci
                                                                                 ded atthe trial.



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     (3)Thecoudmaygivedi
                       rectionsasto-
     (a)theorderi
                nwhi
                   chwitnessstatementsaretobeserved;and

     (b)whetherornotthewitnessstatementsaretobefi
                                                led.

     Backtotop

     Useattrialofwitnessstatem entswhich havebeen served
     32.5

     (1)If-
      (a)apadyhasservedawi
                         tnessstatement'
                                       ,and
      (b)hewishestorel
                     yattrialontheevi
                                    denceofthewitnesswhomadethestatement,
      he mustcallthewi
                     tnessto gi
                              veoralevidence unlessthecourtorders otherwise orhe putsthe statementinas hearsay
      evidence.

      (Part33containsprovisionsabouthearsayevidence)
      (2)Whereawi
                tnessiscal
                         ledtogiveoralevidenceunderparagraph(1),hi
                                                                 swi
                                                                   tnessstatementshal
                                                                                    lstand ashisevidence
      i
      n chi
          effGb)unlessthe coud ordersotherwi
                                           se.

      (3)Awitnessgivi
                    ngoralevidenceattrialmaywi
                                             ththepermi
                                                      ssionofthecourt-

      (a)ampl
            ifyhiswitnessstatement'
                                  ,and
      (b)gi
          veevidenceinrelationto new matterswhichhavearisensincethewi
                                                                    tnessstatementwasservedontheother
      parti
          es.
      (4)Thecoudwillgivepermissionunderparagraph(3)onlyifi
                                                         tconsidersthatthereisgoodreasonnottoconfinethe
      evidence ofthe wi
                      tnessto the contentsofhiswi
                                                tnessstatement.

      (5)Ifapartywhohasservedawi
                               tnessstatementdoesnot-

      (a)callthewitnesstogiveevi
                               denceattrial'
                                           ,or
      (b)putthewi
                tnessstatementinashearsayevi
                                           dence,anyotherpadymayputthewi
                                                                       tnessstatementi
                                                                                     nai;hearsay
      evidence.

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       Evidencein proceedingsotherthan attrial
       32.6
       (1)Subjecttoparagraph(2),thegeneralrulei
                                              sthatevidenceathearingsotherthanthetrialistobebywi
                                                                                               tnessstatement
       unlessthe court,a practice direction orany otherenactmentrequiresotherwise.

       (2)Athearingsotherthanthetrial,apadymay,relyonthematterssetoutin-

       (a)hisstatementofcase;or



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     (b)hisappli
               cationnoti
                        ce,i
                           fthestatementofcaseorapplicationnoticeisveri
                                                                      fiedbyastatementoftruth.

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     Orderforcross-exam ination
     32.7
     (1)Where,atahearingotherthanthetrial,evi
                                            denceisgiveninwri
                                                            ti
                                                             ng,anypartymayapplytothecourtforpermi
                                                                                                 ssi
                                                                                                   onto
     cross-examine the person giving the evidence.
      (2)Ifthecourtgi
                    vespermissionunderparagraph(1)butthepersoninquestiondoesnotattendasrequiredbytheorder,
      his evidence may notbe used unl
                                    essthe courtgives permission.

      (Rules78.26to78.  28containrulesinrelationtoevi
                                                    dencearisingoutofmediationofcertaincross-bordercl
                                                                                                    isputes.Rule
      78.27(1)(b)relatesspecificall
                                  ytothi
                                       srule.)

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      Form ofwitness statem ent
      32.8 A witnessstatementmustcompl
                                     ywi
                                       ththe requirementssetoutin Practice Directi
                                                                                 on 32.

      (Pad22requiresawitnessstatementtobeverifiedbyastatementoftruth)

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      W itness sum m aries
      32.9

      (1)A partywho-
      (a)isrequlredtoserveawi
                            tnessstatementforuseattrial;but
       (b)i
          sunabletoobtainone,mayappl
                                   y,withoutnoti
                                               ce,forpermissiontoserveawi
                                                                        tnesssummaryinstead.

       (2)Awitnesssummaryisasummaryof-
       (a)theevidence,i
                      fknown,whichwoul
                                     dotherwisebeincludedinawitnessstatement'
                                                                            ,or
       (b)iftheevidenceisnotknown,themattersaboutwhichthepartyservingthewitnesssummaryproposestoquestionthe
       witness.
       (3)Unlessthecourtordersotherwise,awitnesssummarymusti
                                                           ncludethenameandaddressoftheinteadedwitness.
       (4)Unl
            essthecourtordersotherwise,awi
                                         tnesssummarymustbeservedwi
                                                                  thintheperiodinwhi
                                                                                   chawi
                                                                                       tnessstatement
       would havehad to be served.
       (5)Whereapadyservesawi     tnesssummary,sofaraspracticablerules32.4(requirementtoservewitnessstatementsfor
       useattrial),32.
                     5(3)(ampl
                             ifyingwi tnessstatements),and32.
                                                            8(form ofwi
                                                                      tnessstatement)shallappl
                                                                                             ytolhesummary.

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       Consequenceoffailureto servewitnessstatem entorsum m ary




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     32.10 Ifawitness statementorawitnesssummaryforuse attri  alisnotserved in respectofanintended witnesswithin
     the ti
          m especi
                 fi
                  ed bythe court,thenthe witnessmay notbe called to gi
                                                                     ve oralevidence unlessthe courtgi
                                                                                                     vespermission.

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     Cross-exam ination on awitnessstatem ent
     32.11 W herea witness i
                           s cal
                               led to give evidence attri
                                                        al,he maybe cross-examined onhiswitness statementwhetheror
     notthestatementoranypadofi
                              twasreferredtodurinl
                                                 ;thewitness'sevi
                                                                denceinchiefGz'.

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      Useofwitnessstatem entsforotherpurposes
      32.12
      (1)Exceptasprovidedbythisrul
                                 e,awitnessstatementmaybeusedonlyforthepurposeoftheproceedingsinwhichitis
      served.

      (2)Paragraph(1)doesnotapplyifandtotheextentthat-
      (a)thewitnessgivesconsentinwritingtosomeotheruseofi
                                                        t;

      (b)thecourtgivespermi
                          ssi
                            onforsomeotheruse'
                                             ,or
      (c)thewitnessstatementhasbeenputinevidenceatahearinghel
                                                            dinpubl
                                                                  ic.

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      Availability ofwitnessstatem entsforinspection
      32.13

      1)Awi
          tnessstatementwhichstandsasevi
                                       denceinchieffGL)isopentoinspectionduringthecourseofthetrialunlessthe
      (
      courtotherwise directs.

      (2)Anypersonmayaskforadirectionthatawitnessstatementi
                                                          snotopentoi
                                                                    nspection.
      (3)Thecourtwillnotmakeadirectionunderparagraph(2)unlessi
                                                             ti
                                                              ssati
                                                                  sfiedthatawitnessstatementshouldnotbe
      open to inspection becauseof-

      (a)theinterestsofjustice'
                              ,
       (b)thepubl
                icinterest'
                          ,
       (c)thenatureofanyexpertmedi
                                 calevi
                                      denceinthestatement'
                                                         ,
       (d)thenatureofanyconfidentà
                                 alinformati
                                           on(includi
                                                    nginformationrelatingtopersonalfi
                                                                                    nancialmatters)inthestatement'
                                                                                                                 ,
       or

       (e)theneedtoprotecttheinterestsofanychil
                                              dorprtltectedparty.
       (4)Thecoud mayexcludefrom inspectionwordsorpassagesinthestatement.

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     Falsestatem ents
     32.14
     (1)Proceedi
               ngsforcontemptofcoudmaybebroughtagainstapersoni
                                                             fhemakes,orcausestobe made,afalse
     statementin adocumentveri
                             fied bya statementoftruthwithoutan honestbeliefinitstruth.

     (Pad22makesprovisionforastatementoftruth)
     (Section6ofPart81containsprovisi
                                    onsinrel
                                           ationtocommi
                                                      ttalformakingafafsestatementoftruth.)


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      Affidavitevidence
      32.15

      (1)EvidencemustbegivenbyaffidavittGt)insteadoforinaddi
                                                           tiontoawitnessstatementifthisisrequiredbythecourt,a
      provision contained i
                          n any otherrule,a practicedirectionorany otherenactment.

      (2)NothingintheseRul
                         espreventsawi
                                     tnessgi
                                           vingevidencebyaffi
                                                            davitatahearingotherthanthetrialifhechoosesto
      dosoinacasewhereparagraph(1)doesnotapply,butthepartyputtingforwardtheaffidavitmaynotrecoverthe
      addi
         ti
          onalcostofmaki
                       ng i
                          tfrom anyotherparty unlessthe coud ordersotherwi
                                                                         se.

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      Form ofaffidavit
      32.16 An affidavi
                      tt
                       GL)mustcompl
                                  y wi
                                     ththe requirementssetoutin Practice Direction32.

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      Affidavitmadeoutsidethejurisdiction
      3217 A personmaymakeanaffidavittGb)outsidethejurisdi
                                                         ctioninaccordancewi
                                                                           th-

      (a)thi
           sPad;or
      (b)theIaw oftheplacewherehemakestheaffidavi
                                                t.

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      N oticeto adm itfacts
       32.18
       (1)A padymayservenoticeonanotherpadyrequiringhim toadmitthefacts,orthepartofthecaseoftheservingparty,
       specifiedin the notice.

       (2)Anoti
              cetoadmi
                     tfactsmustbeservednolaterthan21daysbeforethetrial.
       (3)Wheretheotherpartymakesanyadmi
                                       ssioni
                                            nresponsetothenotice,theadmissionmaybeusedagainsthim onl
                                                                                                   y-

       (a)i
          ntheproceedingsinwhichthenoticetoadmi
                                              ti
                                               sserved;and




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     (b)bythepartywhoservedthe notice.
      (4)Thecourtmayallow apartytoamendorwithdraw anyadmissi
                                                           onmade byhim onsuchtermsasi
                                                                                     tthinksjust.

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      Noticeto adm itorproducedocum ents
      32.19
      (1)A partyshallbedeemedtoadmi ttheauthenti
                                               cityofadocumentdiscl
                                                                  osedto him underPad31(disclosureand
      inspectionofdocuments)unlessheservesnoticethathewishesthedocumenttobeprovedattrial.

      (2)Anoti
             cetoproveadocumentmustbeserved-

      (a)bytheIatestdateforservingwitnessstatements'
                                                   ,or
      (b)wi
          thin7daysofdi
                      scl
                        osureofthedocument,whi
                                             cheverisIater.

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      Notarialactsand instrum ents
      32.29 A notarialactorinstrumentmay be recei ved inevidence wi
                                                                  thoutfudherproofasdul
                                                                                      yauthenticated in accordance
      withthe requirementsoflaw unless the contraryisproved.

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